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8                    IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     )          CASE NO. 2:09-CR-0438 EJG
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       )          STIPULATION AND ORDER TO
                                   )          EXCLUDE TIME
14   NGAI CHUNG HUNG, et.al.       )
                                   )
15                                 )
                    Defendant.     )
16   ______________________________)
17

18        The parties request that the status conference in this case
19   be continued from May 7, 2010 to July 16, 2010 at 10:00 a.m.
20   They stipulate that the time between May 7, 2010 and July 16,
21   2010 should be excluded from the calculation of time under the
22   Speedy Trial Act.   The parties stipulate that the ends of justice
23   are served by the Court excluding such time, so that counsel for
24   the defendant may have reasonable time necessary for effective
25   preparation, taking into account the exercise of due diligence.
26   18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4.         Specifically,
27   the defense counsel and the defendants need additional time to
28   review discovery, which exceeds 20,000 pages.

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1         The parties also stipulate and agree that the case is
2    complex due to the nature of the prosecution and the number of
3    defendant charged pursuant to 18 U.S.C. § 3161(h)(7)(b)(ii) and
4    Local Code T-2.   This matter has previously been found by the
5    Court to be complex.
6         The parties stipulate and agree that the interests of
7    justice served by granting this continuance outweigh the best
8    interests of the public and the defendant in a speedy trial.          18
9    U.S.C. § 3161(h)(7)(A).
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11                                           Respectfully Submitted,
12                                           BENJAMIN B. WAGNER
                                             United States Attorney
13

14   DATE: May 5, 2010          By:    /s/ Heiko P. Coppola
                                           HEIKO P. COPPOLA
15                                         Assistant U.S. Attorney
16

17   DATE: May 5, 2010                 /s/ Josephy J. Wiseman
                                           JOSPEH J. WISEMAN
18                                         Attorney for Defendant Ngai
                                           Chung Hung
19
                                       /s/ Christopher Haydn-Myer
20                                         CHRISTOPHER HAYDN-MYER
                                           Attorney for Defendant Wing
21                                         Chou Chan
22                                     /s/ Dan Koukol
                                           DAN KOUKOL
23                                         Attorney for Defendant Wayne
                                           Feng
24

25                                           SO ORDERED.
26
     DATE: May 5, 2010
27                                           /s/ Edward J. Garcia
                                             HON. EDWARD J. GARCIA
28                                           Senior U.S. District Judge

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